       Case 1:25-cv-01674-RDM          Document 21-9      Filed 06/13/25     Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  NATIONAL PUBLIC RADIO, INC., et al.

                             Plaintiffs,

  v.                                                          Case No. 25-cv-1674

  DONALD J. TRUMP, et al.


                             Defendants.


                                    [PROPOSED] ORDER

        Upon consideration of Plaintiffs’ Motion for Summary Judgment, ECF No. __,

Defendants’ Cross-Motion for Summary Judgment, ECF No. __, all legal memoranda,

declarations, and exhibits submitted in support of or opposition to each motion, and the entire

record herein, for the reasons set forth in the accompanying Memorandum Opinion, it is hereby—

        ORDERED that Plaintiffs’ Motion for Summary Judgment, ECF No. __, is GRANTED.

It is further

        ORDERED that Defendants’ Cross-Motion for Summary Judgment, ECF No. __, is

DENIED. It is further

        DECLARED that Executive Order 14290, entitled “Ending Taxpayer Subsidization of

Biased Media” and issued by the President on May 1, 2025, is unlawful because it violates the

First and Fifth Amendments to the U.S. Constitution, exceeds the limits that Congress imposed on

the Executive Branch in the Public Broadcasting Act, 47 U.S.C. § 390 et seq., and National

Foundation on the Arts and the Humanities Act, 20 U.S.C. § 951 et seq., and contravenes the

Constitution’s Spending Clause and Separation of Powers. The Order therefore is null and void.

It is further

                                               1
      Case 1:25-cv-01674-RDM           Document 21-9        Filed 06/13/25     Page 2 of 2




       DECLARED that all actions by Defendants implementing Executive Order 14290 are

unlawful, and the National Endowment for the Arts and the Corporation for Public Broadcasting

may not lawfully withhold federal funding on the basis of the Order. It is further

       ORDERED that Defendants, save President Donald J. Trump, and all persons acting in

concert with them are permanently ENJOINED from implementing or enforcing Executive Order

14290. It is further

       ORDERED that Defendants, save the President, must in good faith take such other steps

as are necessary to prevent the implementation or enforcement of Executive Order 14290 and to

reverse any implementation or enforcement of Executive Order 14290 that has occurred or is

occurring. It is further

       ORDERED that Defendants shall file a status report within 5 business days of this Order

describing the steps taken to ensure compliance with this Order and certifying compliance with its

requirements. It is further

       ORDERED that this Court shall retain jurisdiction to enforce this Order.

       SO ORDERED.



Dated: ________________



                                                            ______________________________
                                                            Hon. Randolph D. Moss
                                                            United States District Judge




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